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                       EXHIBIT CC
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                         DECLARATION OF CAROLINA DIAZ TAVERA

       Pursuant to 28 U.S.C. § 1746, I, Carolina Diaz Tavera, declare as follows:

       1.      I am over 18 years of age and am competent to make this declaration.

       2.      I have personal knowledge of the matters stated herein and would testify to the same if

called as a witness in Court.

       3.      I am a resident of Fairfax County and meet all qualifications to vote in this locality.

       4.      I was born in Colombia and emigrated to the United States in February of 2000.

       5.      I moved to Virginia and obtained a driver’s license in 2001.

       6.      I became a U.S. citizen in 2013.

       7.      I registered to vote on August 15, 2013.

       8.      I voted in the 2016 presidential primary and general elections, and the 2020 presidential

primary and general elections.

       9.      I last updated my driver’s license with my current address on April 25, 2018.

       10.     On October 9, 2024, I wanted to confirm my polling location, and so I attempted to look

up my voter registration record using the Virginia Department of Elections online voter lookup portal.

       11.     When I entered my information, I was sent to a page stating that I was not registered

and there was no record of my registration. I attempted to enter my information several more times but

each time got this same message.

       12.     I was confused about why my registration was not listed and concerned that I may not

be able to vote in the election.

       13.     On October 10, I spoke with a friend who encouraged me to attempt to re-register to

vote, which I did using the online voter registration system.

       14.     After re-registering, I used the online portal to look up my voter registration record, and

found my record had been restored, including my initial date of registration and my voting history.



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        15.     A few days later, I heard from a friend that Governor Youngkin had ordered voters to

be removed from the rolls based on Virginia DMV records allegedly showing they were not citizens. I

wonder if the fact that when I got my first driver’s license in Virginia, I was a legal resident and not a

citizen played a role in this situation. Because of this situation, I have not yet voted in this election,

although I still plan to vote.

        16.     I am concerned that my voter registration may be cancelled again, and that I may not be

able to vote in this election or future elections.

        17.     Many of my friends and community members are also immigrants who became U.S.

citizens and want to exercise their right to vote. I am concerned that many of them may find their voter

registration has been cancelled and not be able to vote, or that they may not vote because they are

confused, discouraged, or intimidated.

        18.     I am a native Spanish speaker but I’m fluent in English. I can read and understand

written English.

        19.     In giving this declaration, I was asked questions in English which were translated for

me into Spanish, and my answers were given in Spanish and translated and written down in English.

        20.     I have read and understood this declaration and it is true and accurate.

        21.     I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



       Executed this 23rd day of October, 2024, in Alexandria, VA.



                                        ________________________
                                        Carolina Diaz Tavera




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